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             IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF OKLAHOMA

HEATHER SMITH, individual and on
behalf of all other similarly situated,
                                          Case No: CIV-23-559-D
            Plaintiff,
                                          Class Action
v.

WHALECO INC. d/b/a TEMU,

            Defendant.



                                 EXHIBIT 1

                      FONTANEZ V. WHALECO
        Order Granting Defendant’s Motion to Compel Arbitration
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